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EXHIBIT D
In re:

W.R. GRACE & CO., et al.,

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

) Chapter 11
Case No.: 01-01139 (KF)

(Jointly Administered)
Debtors,

AFFIDAVIT OF JAMES CINTANI

My name is James Cintani. I live at 30 Highland Drive in Yardley, PA 19067. I was
born in Ellwood City, Pennsylvania on December 14, 1927.

I worked for the Zonolite Company (“Zonolite”) beginning in 1953 and later for W.R.
Grace & Co. (“Grace”), where I was employed. until 1990. For most of my thirty-seven
years at Zonolite and Grace, I sold those companies’ construction products, including
Mono Kote 3 (“MK-3”) and Zonolite Acoustical Plastic (“ZAP”). My sales positions
included salesman, district sales manager and regional sales manager. Throughout my
career at Zonolite and Grace, [ was familiar with the construction products those
companies sold in North America. I was aware, at the time, that Grace discontinued

selling MK-3 and ZAP in the United States no later than July, 1973.

As part of my duties at Zonolite and Grace, I frequently worked with companies and
individuals who were selling MK-3 and ZAP in Canada. For example, I attended district

and regional sales meetings with them. In addition, I regularly provided information on

MK-3 and ZAP to them. They were aware of the USEPA’s requirement effective July 4,

1973 banning the spray application of asbestos containing materials. We knew in turn

that the USEPA regulation was not applicable in Canada.

EXHIBIT D

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4. Based on the foregoing, I am aware that MK-3 and ZAP were not sold in Canada after
1975 at the latest.

Sworn to and subscribed before me this io _day of February, 2007.

tt Cb

Notary Public

COMMONWEALTH OF PENNSYLVANIA
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Selh C. Rosen, Notary Pubhh
Lower Makefieid Twp., Bloke

My Cornmission Expires July 15,2008 |
Member, Pennsytvanta Ascochatiia Ci Noiczes

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